Case 2:21-cv-20706-MEF-ESK Document 17 Filed 11/10/22 Page 1 of 4 PageID: 172




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 John Doe,
                                                        Case No. 2:21-cv-20706
                Plaintiff,
                                                        JOINT PROPOSED DISCOVERY PLAN
        v.

 Baila Sebrow

                Defendant

   1. Set forth the name of each attorney appearing, the firm name, address and telephone
      number and facsimile number of each, designating the party represented.

For Plaintiff John Doe:
Daniel S. Szalkiewicz, Esq.
Daniel Szalkiewicz & Associates, P.C.               Borenstein, McConnell & Calpin, P.C.
23 W. 73rd Street, Suite 102                        155 Morris Avenue, Suite 201
New York, New York 10023                            Springfield, New Jersey 07081
Tel: (212) 706-1007                                 Tel: (973) 379-2444
Fax: (646) 849-0033                                 Fax: (973) 788-8600

For Defendant Baila Sebrow
Ira W. Heller, Esq.
Ira Heller Law, LLC
1317 Morris Avenue
Union, NJ 07083
Tel: 908-275-8626
Fax: 908-349-3005

   2. Set forth a brief description of the case, including the causes of action and defenses
      asserted.

        Plaintiff alleges Defendant engaged in a three-year course of harassment towards him
through the continuous sending of harassing text messages from spoofed accounts. After
Plaintiff ignored Defendant’s text messages, Defendant began defaming Plaintiff to third parties.
She then enlisted the help of two other individuals to create fake and defamatory websites
concerning the Plaintiff.


                                                1
Case 2:21-cv-20706-MEF-ESK Document 17 Filed 11/10/22 Page 2 of 4 PageID: 173




        Plaintiff’s first cause of action alleges harassment pursuant to N.J. Stat. § 2C:33-4 and §
2C:33-4 1343, 18 USCS § 1343. Plaintiff’s second cause of action alleges defamation and third
cause of action is for intentional infliction of emotional distress. Plaintiff’s fourth cause of
action alleges violations of N.J. Stat. § 2C:28-1 and N.J. Stat. § 2C:28-2 and the fifth cause of
action is for tortious interference with Plaintiff’s business through the posting of the false and
defamatory websites. Plaintiff’s sixth cause of action alleges tortious interference with
Plaintiff’s future business prospects and seventh cause of action is for punitive damages.
Plaintiff’s eighth, and final cause of action is for defamation per se.

        Defendant has filed a counterclaim alleging three causes of action that are currently the
subject of a motion to dismiss.

   3. Have settlement discussions taken place? Yes ___X______ No __________

   (a) What was plaintiff's last demand?
             (1) Monetary demand: $ 10,000,000
             (2) Non-monetary demand: Full retraction of statements and agreement not to
             repost and defame plaintiff in the future.

   (b) What was defendant's last offer?
             (1) Monetary offer: $ _____N/A___
             (2) Non-monetary offer: ____N/A____

   4. The parties have not met pursuant to Fed. R. Civ. P. 26(f).

   5. The Plaintiff has exchanged the information required by Fed. R. Civ. P. 26(a)(1). If not,
      state the reason therefor. Defendant has not exchanged the information.

   6. Explain any problems in connection with completing the disclosures required by Fed R.
      Civ. P. 26(a)(1)

       The Plaintiff does not anticipate any problems with completing disclosures.

   7. The Plaintiff has filed disclosures of third-party litigation funding. See Local Civil Rule
      7.1.1.

   8. The parties have not conducted discovery other than the above disclosures. If so,
      describe.

   9. Proposed joint discovery plan:



                                                 2
Case 2:21-cv-20706-MEF-ESK Document 17 Filed 11/10/22 Page 3 of 4 PageID: 174




      (a) Discovery is needed on the following subjects:
             Plaintiff seeks discovery into defendant’s statements.

      (b) Discovery should not be conducted in phases or be limited to particular issues.
          Explain.

      (c) Proposed schedule:

             (1) Fed. R. Civ. P. 26 Disclosures: Defendant to provide disclosures by
                 November 12, 2022

             (2) E-Discovery conference pursuant to L. Civ. R. 26.1(d) on or before November
                 19, 2022

             (3) Service of initial written discovery on or before November 19, 2022.

             (4) Maximum of 15 Interrogatories by each party to each other party.

             (5) Maximum of 5 depositions to be taken by each party.

             (6) Motions to amend or to add parties to be filed by 30 days after completion of
                 discovery.

             (7) Factual discovery to be completed by February 17, 2023.

             (8) Plaintiff’s expert report due on February 28, 2023.

             (9) Defendant’s expert report due on March 17, 2023.

             (10)    Expert depositions to be completed by April 17, 2023.

             (11) Dispositive motions to be served within 30 days of completion of
                 discovery.

      (d) Set forth any special discovery mechanism or procedure requested.
          None.
      (e) A pretrial conference may take place on May 30, 2023.

      (f) Trial date: June 15, 2023 (__x___Jury Trial).




                                               3
Case 2:21-cv-20706-MEF-ESK Document 17 Filed 11/10/22 Page 4 of 4 PageID: 175




   10. Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
       problems with out-of-state witnesses or documents, etc)? Yes _______No__x____. If so,
       please explain.

   11. Do you anticipate any issues about disclosure or discovery of electronically stored
       information, including the form or forms in which it should be produced?
              Yes _______ No ____x__.

If so, how will electronic discovery or data be disclosed or produced? Describe any agreements
reached by the parties regarding same, including costs of discovery, production, related software,
licensing agreements, etc.


   12. Do you anticipate entry of a Discovery Confidentiality Order? See L.Civ.R. 5.3(b) and
       Appendix S.
       Yes.

   13. Do you anticipate any discovery problem(s) not listed above? Describe. Yes ________
       No __x____.

   14. State whether this case is appropriate for voluntary arbitration (pursuant to Local Civil
       Rule 201.1 or otherwise) or mediation (pursuant to Local Civil Rule 301.1 or otherwise).
       If not, explain why and state whether any such procedure may be appropriate at a later
       time (i.e., after exchange of pretrial disclosures, after completion of depositions, after
       disposition or dispositive motions, etc.).


       Yes.

   15. Is this case appropriate for bifurcation? Yes __________ No ____x____

   16. An interim status/settlement conference (with clients in attendance), should be held in
       March 1, 2022.

   17. We [do __x_____ do not __________] consent to the trial being conducted by a
       Magistrate Judge.

   18. Identify any other issues to address at the Rule 16 Scheduling Conference.
       None


Daniel S. Szalkiewicz, Esq.


Ira Heller, Esq.



                                                4
